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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             SOUTHERN                                                  DISTRICT OF                                      FLORIDA


                 UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                     RYAN WESLEY ROUTH                                                                                 Case Number: 24-08441-McCabe

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
Ryon M. McCabe                                                     Mark Dispoto & Adam C. McMichael                          Kristy Militello & Renee Sihvola
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
Detention Hearing 09/23/2024                                       Jill Wells                                                S. Payne
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             1        9/23/2024             X             X        Crimiefighting Pays/Police Organization Honors 'Super Citizen' Article




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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